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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF VERMONT

 

GARRET SITTS, et al.,

Plaintiffs,

DAIRY FARMERS OF AMERICA, INC. and
DAIRY MARKETING SERVICES, LLC,

Defendants.

 

 

Civil Action No. 2:16-cv-00287-cr

 

 

 

ORDER

The matter before the Court is Defendants Dairy Farmers of America, Inc. and Dairy

Marketing Services, LLC’s Stipulated Motion to Redact Portions of the July 21, 2020 Motions .

in Limine Hearing Transcript (the “Motion’”).

Upon consideration, and for good cause shown, itis hereby ORDERED that the Motion is

GRANTED. It is hereby ORDERED that lines 94:1-7; 94:19-25; 95:11-13; 95;20-96:5; 96:10-

13; 96:16-97:8; 97:18-19; 97:22-24; 98:5-7; 98:18; 99:1-100:8; 100:12; 100:15; 100:17-18;

100:25; 101:1-6; 101:14-22; 102:3-4; 102:11; 102:14-15; 102:19-25; and 178:17 of the July 21,

2020 Motions in Limine Hearing Transcript be redacted, as reflected in Exhibit A to the Motion,

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The Honorable Christina Reiss
United States District Judge

 
